Case 7:14-cr-00050-GEC      Document 244 Filed 08/26/16       Page 1 of 1       Pageid#:
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                                                                    CLERK'S OFFICE U.S.DIST.O UR'
                                                                           AT ROANOKE,VA
                                                                                 FILED

                    IN THE UM TED STATES DISTRICT COURT                     ALC 2,s 2216
                   FOR TI:E W ESTERN DISTRICT OF VIRGINIA              JULIA '
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                              R O AN O K E DIW SIO N                  BY:       .
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UM TED STATES OF AM ERICA,                   CASE NO.7:14CR00050
                                             (CASE NO.7:16CV81172)
V.                                           FINA L O RD ER


M AR IA PERE Z-CA R RILLO ,                   By: H on.G len E .C onrad
                                              ChiefU nited StatesD istrictJudge
                   D efendant.

      In accordancewith the accom panying mem orandum opinion,itishereby

                            A D JIJD G ED A e O R D ER ED

thatdefendant'smotiontovacate,setasideorcorrectthesentence,pursuantto28U.S.C.j2255,
(5.% ECF No.240)isDISY SSED W ITHOUT PREJUDICE and isSTRICKEN from the
active docket ofthe court;the m otion is hereby CONSTRUED as a m otion for reduction of

sentencetmder18U.S.C.j3582(c);andisDENIED.
       ENTER :TllisJZ RdayofAugust,2016.


                                       ChiefU ited StatesDistrictJudge
